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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 

UNITED STATES OF AMERICA ) CASE NO. 5:20 cr 00112
)
Plaintiff, ) JUDGE PATRICIA A. GAUGHN
)
-VS- )
)
ALLEN MARTIN KENNA ) MOTION TO DECLARE CASE
) COMPLEX
Defendant. )
)

Now comes the Defendant, ALLEN MARTIN KENNA, by and through his
undersigned counsel, and respectfully moves this Court for an order designating this case a

complex case and as a result continuing the scheduled dates set forth in the Court’s Trial

Order.
Respectfully Submitted,

/s/ Noah C. Munyer

Noah C. Munyer (0086575)
Attorney for Defendant

121 South Main Street, Suite 520
Akron, Ohio 44308

(330) 253-0785 (telephone)
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MEMORANDUM
Defendant, ALLEN MARTIN KENNA, submits that it is appropriate to designate this
case a complex case and as a result thereof to continue the deadlines set forth in this Court’s
Trial Order.
A court shall consider the following when determining whether to grant 4 continuance

under title 18 U.S.C. § 3161:

“Whether the case is so unusual or complex, due to the number
of defendants, the nature of the prosecution, or the existence of
novel questions of fact or law, that it is unreasonable to expect
adequate preparation for pretrial proceedings or for the trial itself
within the time limits established by this section.”

U.S.C. 18 § 3161(B)(Gi),

Defendant submits that this case involves an extensive investigation by law
enforcement with search warrants, and many hours of recorded conversations. Counsel is in
receipt of electronic discovery as well as voluminous records and other documents.

Counsel continues to review discovery provided and anticipates that a significant
amount of time will be necessary to analyze the discovery provided and to perform any
investigation to adequately evaluate and explore all options available to this Defendant.
AUSA Duncan Brown has no objection to this motion.

WHEREFORE, Defendant, ALLEN MARTIN KENNA, prays for an order declaring

this case a complex case, for an order continuing the existing trial date and for an order

continuing all other deadlines set forth in the Court’s prior orders.

Respectfully Submitted,

/s/ Noah C. Munyer

Noah C. Munyer (0086575)
Attorney for Defendant

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Akron, Ohio 44308

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CERTIFICATE OF SERVICE

I hereby certify that on this_18" day of March, 2020, a copy of the foregoing Motion

 

to Declare Case Complex was filed electronically. Notice of this filing will be sent by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

/s/ Noah C. Munyer
Noah C. Munyer (0086575)
Attorney for Defendant
